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                       UNITED STATES DZSTRJCT COUR
                                                   T
                           DISTRICT OF NEW JERSEY

  UNITED STATES 0? MERZCA
                                          Hon. Stanley P.. Chesler
                                          Critn. No. 10-486 (SRC)
              V.

  ADEWALE ADENUQA,                        COIITD(tIANCE ORDER
  PUAD ADENUGA, and
  IBRAIIIM YtJSUFF




           This matter having come before the
                                              Court on the joint
 application of Paul J. Pishman,
                                 United States Attorney for the
 D.strict of New Jersey    (by Brian L, Urbana, Assistant U.S.
 Attorney),   and defendants Adewale Adenuga,       (by David T.
 Schlendorf, Seq.) •   Fuad Adenuga,    (by Stephen Dratch,     Seq.),   and
 Ibrahitn Yusuff,   (by Kathleen Theucrer, Seq.)      for an order
granting a continuance of the proceedin
                                        gs in the above-captioned
 matter, and the defendants being aware that
                                              they have the right
 to bays the matter brought to trial with
                                          in 70 days of the date of
his appearance before a judicial offic
                                       er of this court pursuant
to Title 1$ of the United States Code,
                                        Section 3161 Cc) (1), and as
the defendants have consented to Euch a
                                         continuance, and for good
and sufficient cause shown

           IT IS THE FINDING OF THIS COURT that thie action
                                                            should
be continued for the following reasons:
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             1.   Plea negotiations are currently in progress, and

  both the United States and the defendants desire additional time

  to finalize a plea agreement, which would render trial of this

  matter unnecessary;

             2.   Defendant has consented to the aforementioned

 continuance; and

             3.   Pursuant to Title    ia of the United States Code,
 Section 3161(h) (8) •   the ends of justice served by granting the

 continuance outweigh the best interests of the public and the

 defendant in a speedy trial.
                                   ) 1J 1—
            WHEREFORE, on this        g   day of July,        2010,
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                                       Trial Act ol! 1974, pur&uant to
       ritle 18, United States code, Section
                                             311t1)B).




                                                               S LEY R !SR
                                                           ited States District Judge




  I hereby consent to the .fozm
  azd eitry of this Order




dt.Scendosq
 ATTORNEY FOR ADEWALE Jt)ENUQA



 Stephen Oratch, Esq.
 ATTORNE? FOR PUAD ?DENLGA



 Kath1een 14. Theurer, Esq.
  TORY FOR ThRIdIXM YUSLTFF
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